











NO. 07-08-0382-CR; 07-08-0383-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL B

JUNE 2, 2009
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;______________________________

JEFFREY LYNN COX, APPELLANT

V.

THE STATE OF TEXAS, APPELLEE
_________________________________

FROM THE 64TH DISTRICT COURT OF HALE COUNTY;

NO. A15170-0310, A15191-0310; HONORABLE ROBERT W. KINKAID, JR., JUDGE
_______________________________


Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Jeffrey Lynn Cox appeals from the revocation of his community
supervision for the offenses of forgery and theft and the resulting concurrent sentences of
two years of confinement in a state jail facility.  Appellant's attorney has filed a consolidated
brief in compliance with Anders v. California, 386 U.S. 738, 87 S. Ct. 1396, 18 L. Ed. 2d 493

(1967) and In re Schulman, 252 S.W.3d 403 (Tex.Crim.App. 2008) and certifies that there
are no non-frivolous issues to appeal.  Agreeing with appointed counsel’s conclusion the
record fails to show any arguably meritorious issue that could support the appeal, we affirm
the trial court’s judgments. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In October 2003, appellant was charged by indictment of the offense of forgery.


 
In a separate October 2003 indictment, appellant was charged with the offense of theft.


 
On February 23, 2004, pursuant to a plea agreement, appellant plead guilty as charged
in each of the indictments and, on February 24, was placed on deferred adjudication
community supervision for a period of five years for each cause.   Appellant’s deferred
adjudication was conditioned on his compliance with specified terms and conditions.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 13, 2006, the State filed its first motions to revoke.  By agreed orders,
appellant’s community supervision for each cause was modified to include additional terms
and conditions.  In June 2008, the State filed its second motions to revoke, setting forth
several violations of the terms and conditions of appellant’s deferred adjudication
community supervision.  The alleged violations included allegations that appellant
committed the offense of intentionally, knowingly or recklessly causing bodily injury to
another on April 15, 2008, admitted to using alcohol in April 2008, failed to report as
required for the month of December 2007 and March 2008, failed to pay fines and fees as
required, failed to attend AA meetings as required, and willfully and knowingly violated his
curfew.


  On September 5, 2008, this motion was heard by the court.   Appellant pled ”true”
to all of the State’s allegations for each cause.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The State presented the testimony of appellant’s community supervision officer. 
Appellant testified, acknowledging and explaining the violation of the terms of his community
supervision. After hearing the evidence presented and pursuant to appellant’s pleas of
“true,” the trial court revoked appellant’s community supervision and sentenced appellant
to two years to run concurrently in a state jail facility of the Texas Department of Criminal
Justice, and ordered him to pay court costs, restitution, and any court appointed attorney’s
fees.   This appeal followed.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant's appointed appellate counsel filed a consolidated motion to withdraw and
a consolidated brief in support pursuant to Anders v. California, 386 U.S. 738, 87 S. Ct.
1396, 18 L. Ed. 493 (1967), in which he certifies that he has diligently reviewed the record
for each cause and, in his professional opinion, under the controlling authorities and facts
of these cases, there is no reversible error or legitimate grounds upon which a non-frivolous
appeal can arguably be predicated.  The brief discusses the procedural history of the
causes and the proceedings in connection with the motions to revoke.  Counsel also notes
one potential issue upon which error may lie but has explained why the argument lacks
merit.  Counsel has certified that a copy of the Anders brief and motion to withdraw have
been served on appellant, and that counsel has advised appellant of his right to review the
record and file a pro se response. Johnson v. State, 885 S.W.2d 641, 645 (Tex.App.–Waco
1994, pet. ref'd).  By letter, this Court also notified appellant of his opportunity to submit a
response to the Anders brief and motion to withdraw filed by his counsel.  Appellant has not
filed a response.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In conformity with the standards set out by the United States Supreme Court, we will
not rule on the motion to withdraw until we have independently examined the record. 
Nichols v. State, 954 S.W.2d 83, 86 (Tex.App.–San Antonio 1997, no pet.).  If this Court
determines the appeal has merit, we will remand it to the trial court for appointment of new
counsel.  See Stafford v. State, 813 S.W.2d 503, 511 (Tex.Crim.App.1991).&nbsp;In his brief, counsel notes a potential issue concerning the legal and factual
sufficiency of the evidence to support the revocations.  At the revocation hearing, appellant
plead “true” to all of the State’s allegations.  A plea of “true” to even one allegation in the
State’s motion is sufficient to support a judgment revoking community supervision.  Cole v.
State, 578 S.W.2d 127, 128 (Tex.Crim.App. 1979); Lewis v. State, 195 S.W.3d 205, 209
(Tex.App.–San Antonio 2006, pet. denied).  We agree there is no arguably meritorious
ground for appeal on this point.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We find also no arguably meritorious point may be raised with regard to the
punishment assessed to appellant. The trial court assessed punishment for appellant at two
years of confinement, to run concurrently, at a state jail facility.  This is an acceptable term
within the permissible range.


  It is the general rule that as long as a sentence is within the
proper range of punishment, it will not be disturbed on appeal.  Jackson v. State, 680
S.W.2d 809, 814 (Tex.Crim.App. 1984).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Our review convinces us that appellate counsel conducted a complete review of the
record for each cause.  We have also made an independent examination of the entire record
for each cause to determine whether there are any arguable grounds which might support the
appeal. We agree the records present no arguably meritorious grounds for review.  We grant
counsel's motion to withdraw


 in each cause and affirm the judgments of the trial court.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

&nbsp;
&nbsp;
&nbsp;
Do not publish.

&nbsp;
&nbsp;

&nbsp;
&nbsp;
&nbsp;
&nbsp;


